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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

DELCOR ASSET CORPORATION, and                      )
PRESTIUM PHARMA, INC.                              )
                                                   )
         Plaintiffs,                               )
                                                   )
                        v.                         )
                                                   )
TARO PHARMACEUTICAL INDUSTRIES,                    )
LTD., TARO PHARMACEUTICALS U.S.A.,                 )
INC.,                                              )   C.A. No. 16-117-GMS
                                                   )
         Defendants                                )
                                                   )
and STIEFEL WEST COAST, LLC                        )
                                                   )
         Defendant.                                )
                                                   )
                                                   )
TARO PHARMACEUTICAL INDUSTRIES,                    )
LTD., TARO PHARMACEUTICALS U.S.A.,                 )
INC.,                                              )
                                                   )
         Counterclaim Plaintiffs,                  )
                                                   )
                        v.                         )
                                                   )
DELCOR ASSET CORPORATION, and                      )
PRESTIUM PHARMA, INC.                              )
                                                   )
         Counterclaim Defendants,                  )
                                                   )
and STIEFEL WEST COAST, LLC                        )
                                                   )
         Crossclaim Defendant.                     )
                                                   )


                        STIPULATION AND ORDER OF DISMISSAL

         Pursuant to Rule 41(a)(1)(ii) and (c), Fed. R. Civ. P., Delcor Asset Corp. (“Delcor”) and

Prestium Pharma, Inc. (“Prestium”) (collectively, “Plaintiffs”), and Stiefel West Coast, LLC,



 
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Taro Pharmaceutical Industries, Ltd., and Taro Pharmaceuticals U.S.A., Inc. (collectively,

“Taro” or “Defendants”), having settled their respective claims and disputes (“Settlement

Agreement”), through their respective counsel, stipulate and agree, subject to the Court’s

approval, that all claims and counterclaims in this action are dismissed without prejudice.

                                                  ORDER

             Accordingly, pursuant to the above Stipulation, and upon the consent and request of

Plaintiffs and Defendants, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

             1.     All claims, defenses, and counterclaims between Plaintiffs and Defendants are

hereby dismissed without prejudice.

             2.     Each party shall bear its own costs, attorneys’ fees, and expenses incurred in

connection with the claims and counterclaims dismissed by this Order.

          




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Dated: November 17, 2016



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                                         Taro Pharmaceuticals U.S.A., Inc.




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          SO ORDERED this __________ day of _____________________________ 2016.




                                                  Judge Gregory M. Sleet
                                                  United States District Court Judge




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